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10

11                           IN THE UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
13
     IN RE GOOGLE RTB CONSUMER                       CASE NO. 4:21-CV-02155-YGR
14   PRIVACY LITIGATION
15                                                   PLAINTIFFS’ ADMINISTRATIVE
16                                                   MOTION PURSUANT TO L.R. 6-3
     This document applies to all actions.           AND 7-11 TO REVISE PRETRIAL
17                                                   CASE SCHEDULE

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                                                                      Case No. 4:21-cv-02155-YGR
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 1 I.       INTRODUCTION
 2          Pursuant to Civil Local Rules 6-3 and 7-11, and for the reasons set forth below and in the
 3 accompanying Declaration of Elizabeth C. Pritzker, plaintiffs seek to extend the pretrial schedule in

 4 this matter by approximately seven weeks to allow time for plaintiffs and their experts to analyze,

 5 digest, and incorporate into the upcoming class certification motion what is anticipated to be a

 6 significant volume of additional and new data pertaining to the named plaintiffs that Defendant

 7 Google LLC was recently ordered to search for and use best efforts to produce by April 28, 2023.

 8 See ECF Nos. 481 (order on bid response fields), 483 (order on time sampling), 485 (order on bid

 9 request fields), 487 (order on motion for contempt and sanctions).

10          On April 25, 2023, Google informed plaintiffs that it cannot fully comply with the Court’s
11 four discovery orders until May 26, 2023, which is after the current May 23 deadline for plaintiffs to

12 move for class certification. Google agrees that the case schedule needs to be modified as a result,

13 and the parties are in agreement on a new case schedule, which is set forth in paragraph 13 of the

14 Pritzker Declaration. See Pritzker Decl., ¶¶ 10-13. Notwithstanding this agreement on a new case

15 schedule, plaintiffs are unable to proceed by stipulation because Google has demanded that plaintiffs

16 agree to limitations on what discovery can be used in connection with the class certification motion

17 as a condition of entering into a stipulation on the case schedule. Id. at ¶ 12. Plaintiffs rejected this

18 demand, which has no factual or legal basis, and the unnecessary burdens it places on the Court in
19 addressing motion practice directed to otherwise agreed-upon scheduling matters. Id.

20          Plaintiffs have sought and been granted two previous extensions of the pretrial schedule.
21 There is no scheduled hearing date for the Court to hear argument on class certification, and no trial

22 date has been set. For the reasons set forth below and in the Pritzker Declaration, the new case

23 schedule agreed to by the parties should be approved, and Google’s request that discovery used in

24 support of the class certification motion be limited in any way should be denied.

25 II.      RELEVANT BACKGROUND
26          Discovery pertaining to the named plaintiffs is crucial for the upcoming class certification
27 motion and was included in the very first set of document requests served by plaintiffs back in May

28 2021. This basic information about the named plaintiffs was intended to be a roadmap for discovery
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 1 in the case and a significant basis for the class certification motion. See Pritzker Decl., ¶ 2. As the

 2 Court is aware from the docket and the two prior motions to revise the case schedule, obtaining this

 3 discovery from Google has been a slow and arduous process, involving dozens of meet and confers,

 4 countless letters, and emails exchanged by counsel, and numerous discovery motions. Id. at ¶ 3.

 5          Of relevance here, on July 29, 2022, plaintiffs moved to compel Google to produce various

 6 categories of named plaintiff data, which Google opposed. See ECF No. 269. On August 26, 2022,

 7 the Court granted the motion to compel in part and ordered Google to produce certain categories of

 8 data relating to the named plaintiffs. See ECF No. 314. With respect to some of what was requested,

 9 the Court ordered the parties to continue their meet and confer efforts. Id. Google’s production of
10 named plaintiff data in response to the Court’s August 26, 2022 discovery order took months, but

11 was still incomplete, which necessitated another motion to compel by plaintiffs that was filed on

12 November 21, 2022. See ECF No. 365. Google again opposed the motion. Id. On December 16, 2022,

13 the Court granted the second motion to compel in part, agreeing that Google had failed to comply

14 with the August 26, 2022 discovery order with respect to certain categories of named plaintiff data.

15 See ECF No. 382. The Court specifically ordered Google to complete its production of the missing

16 named plaintiff data by January 31, 2023. Id.

17          Google made no production on January 31, 2023, as ordered, and when it finally made a
18 production on February 9, 2023, the production remained incomplete in material respects, including

19 missing data for most of the class period and missing key identifiers linking the data to the named

20 plaintiffs. See ECF No. 431 at 4-5. On February 28, 2023, plaintiffs filed a motion for contempt and

21 sanctions based on Google’s failure to comply with the Court’s August 26, 2022 and December 16,

22 2022 discovery orders. See ECF No. 431. That motion also sought to compel Google to make a

23 complete production of the missing named plaintiff data. Id.

24          At the same time, the parties were completing discussions on other named plaintiff data about
25 which the Court previously ordered the parties to confer further in the August 26, 2022 discovery

26 order. Unable to resolve the disputes, plaintiffs filed three additional discovery motions in February

27 and early March 2023, seeking to compel Google to produce additional bid request and bid response

28 fields pertaining to the named plaintiffs and to produce all named plaintiff data for additional sample

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 1 weeks during the class period. See ECF Nos. 429, 430, 434.

 2          On April 14, 2023, the Court issued its orders on the four pending motions seeking additional

 3 named plaintiff data. See ECF Nos. 481, 483, 485, 487. The Court ordered Google to produce a

 4 number of additional bid request and bid response fields, to produce crucial additional account

 5 identifier fields, and to produce named plaintiff data for six additional weeks during the class period,

 6 doubling the sampling period from what Google has produced to date. Google was ordered to use its

 7 best efforts to complete most, but not all, of this production by April 28, 2023.

 8          On April 25, 2023, Google informed plaintiffs that while it would produce some of the new

 9 named plaintiff data by April 28, 2023, it would need until May 26, 2023 to make a full and complete
10 production responsive to all four of the Court’s discovery orders. See Pritzker Decl., ¶ 10.

11          Because this means that Google will not complete its production of named plaintiff data until
12 after the current May 23 class certification deadline, the parties have conferred and agree that the

13 current case schedule needs to be revised to allow Google sufficient time to search for and produce

14 all of the named plaintiff data that is the subject of the four discovery orders, and then allow plaintiffs

15 and their experts sufficient time to analyze the newly-produced data and incorporate it into plaintiffs’

16 class certification briefing. See Pritzker Decl., ¶ 11.

17          The parties have conferred and agree on the new pretrial case schedule set forth in paragraph
18 13 of the Pritzker Declaration. Notwithstanding this agreement, plaintiffs are unable to proceed by

19 stipulation because Google has demanded that plaintiffs agree to limitations on what discovery can

20 be used in connection with the class certification motion as a condition of entering into a stipulation

21 on the case schedule. Plaintiffs rejected this demand, which has no factual or legal basis. See Pritzker

22 Decl., ¶ 12.

23 III.     GOOD CAUSE EXISTS TO AMEND THE PRETRIAL CASE SCHEDULE
24          Plaintiffs seek a limited and unopposed seven week extension of the pretrial case schedule for
25 one purpose, to allow Google time to comply with four recent discovery orders that require it to

26 search for and then produce what is likely to be a substantial volume of new and additional data

27 pertaining to the named plaintiffs, and then allow time for plaintiffs and their experts to review,

28 analyze, and incorporate this new and additional data into existing productions and drafts of the class

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 1 certification motion and expert reports. Whether considered under L.R. 6-3 or L.R. 7-11, good cause

 2 for the requested extension exists here for several reasons, which are discussed below.

 3          A.     Plaintiffs have been diligent in pursuing discovery

 4          As reflected in the docket and the Court’s various discovery orders, plaintiffs have been

 5 diligent in pursuing the named plaintiff discovery that is needed for class certification purposes, much

 6 of which was only recently ordered to be produced after months of negotiations, meet and confer

 7 discussions and multiple rounds of discovery briefing. See Pritzker Decl.¶¶ 2-9.

 8          B.     Plaintiffs will be prejudiced without an extension

 9          Plaintiffs will be prejudiced without the extension. In granting the four motions to compel
10 that plaintiffs recently filed, the Court has concluded that the named plaintiff data ordered to be

11 produced is responsive and relevant, particularly for class certification purposes. See ECF Nos. 481,

12 483, 485, 487. It would be manifestly prejudicial to plaintiffs to order this discovery to be produced

13 before class certification, but not allow plaintiffs the time necessary to actually review and analyze

14 the discovery, work with their experts, and then incorporate this new discovery into the class

15 certification motion. This is particularly true here, where the volume of the anticipated productions

16 may be substantial. As a result of the four recent discovery orders, the time period for which Google

17 must provide named plaintiff data has now been doubled, additional bid request and response fields

18 have been ordered to be produced, and account identifier information must be provided for all past

19 productions and the upcoming productions. See ECF Nos. 481, 483, 485, 487. Organizing, analyzing.

20 and using all of this new and additional data will take plaintiffs and their experts some time, and

21 plaintiffs will be prejudiced if they are not afforded that time, given that the discovery has only

22 recently been ordered to be produced through no fault of plaintiffs.

23          C.     The extension requested is fair and reasonable and unopposed by Google
24          The roughly seven-week extension sought here is fair and reasonable in the circumstances,
25 not excessive, and will allow for the orderly and efficient prosecution of the litigation. It is also

26 unopposed by Google, which needs until May 26 to fully comply with the four recent discovery

27 orders. The additional seven weeks will allow sufficient time for Google to make all of its productions

28 in response to the four recent discovery orders and then provide time plaintiffs and their experts to

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 1 review and analyze the productions, and incorporate that data and the expert analyses of same into

 2 the upcoming class certification briefing. See Pritzker Decl., ¶ 11.

 3          D.      Google does not oppose the extension sought

 4          Recognizing that it needs until May 26, 2023 to fully comply with the Court’s four discovery

 5 orders, Google agrees that the current case schedule needs to be extended and does not oppose Court

 6 approval of the new case schedule Google itself proposed, and which is now set forth in paragraph

 7 13 of the Pritzker Declaration. See Pritzker Decl., ¶¶ 11-12. As noted, although Google supports and

 8 does not oppose the new proposed case schedule, it would not so stipulate unless plaintiffs also agreed

 9 to limit their use of certain discovery in connection with their class certification motion. Google’s
10 demand to limit plaintiffs’ use of discovery lacks any factual or legal basis. Discovery has not been

11 bifurcated in this case in any respect, and as plaintiffs are proceeding with discovery on a single class

12 certification and merits discovery schedule, plaintiffs intend and need to proceed with all relevant

13 discovery to meet the case deadlines in this case. Accordingly, plaintiffs refused this demand as a

14 condition of entering into a stipulation on a case schedule extension request that incorporates the case

15 extension dates that Google itself proposed, and upon which the parties have otherwise agreed. To

16 the extent that Google raises this issue in any filing in response to this motion, it should be rejected

17 by the Court.

18 IV.      CONCLUSION
19          For all of the foregoing reasons, plaintiffs respectfully request that the proposed order
20 submitted herewith be entered, that the pretrial case schedule be amended accordingly, and that

21 Google’s request that discovery used by plaintiffs in support of class certification be limited in any

22 respect be denied.

23

24 DATED: April 26, 2023                                  Respectfully submitted,
25
                                                          PRITZKER LEVINE LLP
26
                                                          By: /s/ Elizabeth C. Pritzker
27
                                                          Elizabeth C. Pritzker (Cal. Bar No.146267)
28                                                        Jonathan K. Levine (Cal. Bar No. 220289)

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